 Case 0:21-cr-60067-AHS Document 3 Entered on FLSD Docket 02/26/2021 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                      21-60067-CR-SINGHAL/SNOW
                               CASE NO. ----------
                                                                                FILED BY.,,j /J,.o
                                                                                                              D.C.

                                                                                       FEB 2 5 2021
                                                                                       ANGELA E. NOBLE
                                                                                      CLERK U.S. DIST. CT.
  IN RE: SEALED INDICTMENT                                                            S, D. OF FLA.· MiA
                                                                                                         Mi
  ------- ------                               -
                                         MOTION TO SEAL

          NOW COMES the United States of America, by and through its undersigned attorney, and

   respectfully requests that the foregoing Indictment, arrest wan-ant, and any resulting order be

   SEALED until the a.nest of the defendant or further order of the Court, excepting the United States

   Attorney's Office and Law Enforcement Personnel, which may obtain copies of any Indictment,

   arrest warrant, or other sealed document for purposes of arrest, extradition, or any other necessary

 - �cause, for _tire-reasons that the integrity of the ongoing investigation might be compromised,--and

_ the defendant_might flee should knowledge of this Indictment becomep�blic.


                                                   Respectfully submitted,

                                                   ARIANA FAJARDO ORSHAN
                                                   UNITED STATES ATTORNEY


                                         By:
                                                   Kiran N. Bhat
                                                   Assistant United States Attorney
                                                   Florida Bar No. 1008370
                                                   99 NE 4th Street, 6th Floor
                                                   Miami, Florida 33132
                                                   Tel: (305) 961-9103
                                                   Kiran.Bhat@usdoj.gov
